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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division



 PAE National Security Solutions LLC,

                       Plaintiff,

        V.                                                    Case No. l:20-cv-235
                                                              Hon. Liam O'Grady
 Brilliance Information SDN BHD,

                       Defendant.



                                            ORDER

       This matter comes before the Court on Magistrate Judge Ivan Davis's Report and

Recommendation("R&R"). Dkt. 15. The R&R was entered on September 4,2020, and no

objections were filed. After reviewing the record and the R&R,and finding good cause to do so,

the Court hereby APPROVES and ADOPTS the R&R(Dkt. 15) in full.

       Consequently, Plaintiffs Motion for Default Judgment(Dkt. 12)is hereby GRANTED.

It is hereby ORDERED that the Clerk ofthe Court is to enter a Default Judgment in favor of

PAE National Security Solutions LLC and against Defendant Brilliance Information SDN BHD

pursuant to Fed. R. Civ. P. 55(a) in the following amounts:

    1. $823,773.00 under the "Exhibit B Work Order," Dkt. 1-2, at 5, plus pre-judgment

       interest accruing from the date ofthe work order's termination (February 4,2016), Dkt.

        I, at 4,^ 27, through the date this Order issues, at a rate of6% per annum;
    2. The remaining $1,435,409.82 balance due under the "Exhibit 1 Work Order," Dkt. 1-3, at

       22, plus pre-judgment interest calculated individually for each invoice,see Dkt. 1, at 4—
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